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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   BRUNSWICK DIVISION



UNITED STATES OF AMERICA,

       V.                                                 CASE NO.:218-CR-41


CALEB JAMES ANDERSON.




                                          AFFIDAVIT


        NOW COMES, the above-stated defendant, and gives this affidavit stating that the
address set forth in the within attached appearance bond (or personal recognizance) will
constitute a valid mailing address for service and notice of all court proceedings, appearing dates,
and all pleadings.

        The affiant also agrees that he/she will immediately notify the Clerk's office for the
Southern District of Georgia of any change in the above address, and further agrees that notice
sent to this address will constitute valid service of notice of proceedings in the event that he/she
moves without notifying the Clerk's office by an acceptable writing of a new address.

       This 10 day of October,2018.


                                                               Defendant




Swom to and subscribed before me
This i.O day of October, 2018.




HONORABLE BENJAMIN W.CHEESBRO
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF GEORGIA
